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                              UNITED STATES DISTRICT COURT

                                DISTRICT OF MASSACHUSETTS



YANICK JACQUES



v.                                                     CIVIL ACTION NO. 13-10520-DJC



UNITED STATES, ET AL




                           SETTLEMENT ORDER OF DISMISSAL



CASPER, D.J.


        The Court having been advised by counsel for the parties that the above-entitled action has

been settled;

        IT IS HEREBY ORDERED that this action is hereby dismissed without costs and without

prejudice to the right, upon good cause shown within sixty (60) days, to reopen the action if settlement

is not consummated.




                                                       /s/ Lisa M. Hourihan
January 22, 2016                                       --------------------------
                                                       Deputy Clerk
